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   1   Steven W. Ritcheson, Esq. (SBN 174062)
   2   WHITE FIELD, INC.
       9800 D Topanga Canyon Blvd. #347
   3   Chatsworth, California 91311
   4   Telephone: (818) 882-1030
       Facsimile: (818) 337-0383
   5   swritcheson@whitefieldinc.com
   6
       Attorneys for Plaintiff,
   7   JOAO BOCK TRANSACTION SYSTEMS, LLC
   8
       Douglas Bridges, Esq. (Pro Hac Vice)
   9   HENINGER GARRISON DAVIS, LLC
       169 Dauphin Street, Suite 100
  10   Mobile, AL 36602
  11
       Telephone: 251-298-8701
       Facsimile: 205 547 5504:
  12
       dbridges@hgdlawfirm.com

  13   Attorneys for Plaintiff,
       JOAO BOCK TRANSACTION SYSTEMS, LLC
  14

  15                       UNITED STATES DISTRICT COURT
  16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  17                            LOS ANGELES DIVISION
  18                                            Case No. 11-cv-09455-DSF-JEM
       JOAO BOCK TRANSACTION
  19   SYSTEMS, LLC,
                                                STIPULATION OF DISMISSAL
  20
                            Plaintiff,
  21
               v.
  22
       COMERICA BANK,
  23

  24
                            Defendant.

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                             STIPULATION OF DISMISSAL
                              Case No. 11-cv-09455-DSF-JEM
Case 2:11-cv-09455-DSF-JEM Document 29 Filed 07/12/12 Page 2 of 2 Page ID #:416


   1         WHEREIN Plaintiff JOAO BOCK TRANSACTION SYSTEMS, LLC
   2   (“Plaintiff”) and Defendant COMERICA BANK (“Defendant”) have entered into a
   3   settlement agreement fully and finally resolving their disputes with respect to the
   4   above captioned case;
   5         IT IS HEREBY STIPULATED by Plaintiff and Defendant that:
   6         (1) The parties’ claims against each other in the above captioned case shall
   7            be and hereby are dismissed in their entirety, with prejudice pursuant to
   8            Fed. R. Civ. P. 41(a)(1)(A)(ii); and
   9         (2) Each party shall bear its own fees and costs.
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                                                       Respectfully submitted,
  11                                                   WHITE FIELD, INC.
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  13   Dated: July 11, 2012                                  /s/ Steven W. Ritcheson
  14                                                   Steven W. Ritcheson
                                                       Attorney for Plaintiff
  15                                                   JOAO BOCK TRANSACTION
  16                                                   SYSTEMS, LLC

  17                                                   Respectfully submitted,
  18                                                   BROOKS KUSHMAN P.C.

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  20   Dated: July 11, 2012                                  /s/ William E. Thomson, Jr.
                                                       William E. Thomson, Jr.
  21                                                   Attorney for Defendant
  22                                                   COMERICA BANK

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                                STIPULATION OF DISMISSAL
                                 Case No. 11-cv-09455-DSF-JEM
